 

er,

 

 

F-Hachmert |

CONSULTATION REPORT
'Y.S, DEPARTMENT OF 3USTICE = FEDERAL BUREAU OF PRISONS

 

Name: KREMBEL, MICHAEL

Reg.#: 018452-055 Referred By: BUTNER FCI

 

 

 

 

 

 

 

 

 

DOB: ozzaiesa Attending: KATZ, STANLEY
CHIEF COMPLAINT: History of squamous call carcinoma. mo
“Bate of Visit. - -. | Dictation Received: 7 Dictation Transeribed:
07/08/2018 _ | O7rne2013 mo, 97/08/2019
“Sensitive but Unclassified

ULTATION RECO
Tha patient presents with.a history of a squamous cell carcinoma on the centrel scalp which was treated with a
surgical procedure and a flap repair. Over the last faw months, the patient hashad an apparent recurrence in the
samo'area in the region of the flap, which fepresents an ulcerative large noduls lesion that Is somewhat tander and

. firma to the touch.

IMPRESSION: Recurrent squamous celt carcinoma in the area of previously treated squamous call carcinoma with
flap rapair. . -

PLAN: It is my strong opinion that the patient is a candidate for Mohs micragraphic surgery, net enly fer the obvious
reasons as stated above but also because of the location arid the Increasing size over the last few months in an area
ofa flap repair, This would be the. true standard of cars, and frankly due to the patient's good health and abillty to
tolerate such procedure, | know nothing else that would be adequate other than this treatmant. The patient wil
raturn for follow up In approximately one nyonth for evaiuation, assuming the Mohs surgery is done 9s soon as
-possible, which | again strongly recommend. _ This was discussed with the patients family physician, Or. Amy
Rosenthal, and we hoth seem to concur with this suggestion.

a
y

 

Signature:
. MD

 

 

 

SK. co,
Electronically Signed 07/08/2019 09:00
Job No: 814394

 

Case 5:16-ct-03018-FL Document 1-1 Filed 01/27/16 Page 1 of 10

;
 

 

 

 

 

— Oo G3
U.S. Department of Justice - ,
Pederal Buren of Prisons Attachment cL"

Feder! Correctional Complex

 

 

2.0. Bar iso
Butner, HO ZP50P

FROM: FOC Butner Uiilizaion Review Committee
‘SUBJECT: Medical ConsnitReview

TO: tonite LMbe! Michael
| Reg, No. loAtSh~ OS% oo
. . UnrFmC AC. OT,
Your medical consult for nN PHS i finite GAA Ae has been
. at ‘Approved | SO
It Deferred
 O Denied

 

‘at this time. . The Utilization Review Committee conclnded that the present
consult is ,

. 1 acceptable
Cl Necessary
Ci Mandatory
H Cotvenience of Inmate
Fi Not Medically Necessary
Fi Alternative Treatment Plan
consisting of

= ?
=

 

Tf the above medical consult is approved, the consult witl then be scheduled
based on prioritization at the next available appointment. In the
meantime, you should continue to utilize sick call procedures an continue

to work with you primary care clinician team regarding any medical
concerns. . .

“te | BOIA
Date . Acting Clini

i ‘Utilization
cc: Medical Record ;

iojis {zor 3: COMEULT Wh DE. Cook DUKE eh. ETB

 
 
 
     

Or
View Chairmen

Revined (6/03) _

Case 5:16-ct-03018-FL Document1-1 Filed 01/27/16 Page 2 of 10

 
 

 

 

t
85/28/2624 15:69 ° Speessises FMCD PAGE 21/32

Duke Medicine Fax 3/28/2014 1:07:16 PM BAGE €/007' Fax Server

Attach ment a. =

re im et KAEMBEL MICHAEL (2 poges)
Dukelisdicine. MEN: D1816262
ma oe , : . DOB: 2/28" 644, Sex: M
Ene. Data 0/15/43

 

 

Notes (coniinued}
Broviders Gnty continued? _

1 saw Mr. Michael Krembel, an incarcerated inmate from the Faderal. Prison System today for the
evaluation of a presumed recurrent squarnous cell carcinoma of the scalp. Additional information regarding Mr.
Krambets inital evalivation ear be.found In his database consuttative note.

To summarize, Mr. Krémbel is an 69 year oid Caucasian mate who underwent the surgical exelaten of 4
histelogically-confirmed squamous cell carcinoma of the sealp earlier this year. Hé has had atleast two
surgital excisions of this tumar,.and his wound.was reconstructed with a wtation flap. He had postoperative
wound infectious complications that resolved with intravenous antibloties, Previous GT and MBI staging
examinations failed t show any lytic bone involvement. Mr, Krembel's tumor wag exvised in Apt, 2013. The
excision revealed a moderately to-weit-differentlated keratinizing equamnous call carcinoma with involvement of
a deep Inked margin. Mr.. Krembel's tumor was're-excised fn early May: 2019, and by his censutftative notes,
the operative surgeon evidently excised the prior margin where desp fumer involvement had bean anpreciated.
Histologic examination of that excision spectmen failed to reveal any evidence of persistant squamous call | -
carcinoma, and the weund was reconsttlicted with 2 rotation flap. Mr. Krembel developed clinical evidence of -

; | fecurrent squamous cell carcinoma at this slie shortly after his rotation llap repair. He was seen byagrison .
bureau physician.on July 8, 2073, and that phyelelan recommended & refertal fer consideration af tha Mohs -

Surgical excision of this presumediy recurrent aquamous cell carcinoma, and | saw Nir, Krembe! today tor this

’ evaluaiion.

On examination, Mr. Krembel had 2 well-healed rotation flap in the right crown and vertex area. There
wefe obvious areas of clcaticial alopecia. Additionally, there was a dog-ser protuberance at the pivot point of.
the flap on the right posterior sealp. At the leading edge of the flap near the central portlort of the scalp, Mr.
Krembel had an approximately 2-3 em keratotic nodule with central necrosis, The appeared to represent 2
ollnically recurrent scuamous cell-carcingma, On examination, which was limited by the patient's tenderness,
the tumor appeared fo extend at least to the depth of the underlying perlosiaum. There were no palpable

suggestions 6f regional lyinphadetepathy.

Mr. Krembel was referred to me for a dlacussion of therapautlc altemaives, He did have a Tadiation «|
encolagy consult In dune, 2013, At that time, he had healing wounds on his scalp, but the radiation oneoiogist
noted no obvious suggestions of clinically persistentneoplasia. —

. Idisoussed the Fresumned diagnosis of recurrent squamous cell carcinoma with Mr. Krembe! atlength. t
informed him that no anedicai or surgied) therapy could "guarantee" a permanent sscape from eventual regional
or distant metastatic disease. | agreed with the prison staff physiclari that the Mohs surgical excision of this
neoplasm would likely bave the highest possibilty of local tumor coniral, The Mehs technique wae described tp
Mr. Krembe! at length. | have prepared’ him for the fact that the Mohs surglsat exelsion ofthis squamous cell
carcinoma, which will be comirmed with a blopay. procedure Immediately pilor te surgical excision, would likely
lnvolve an excision of the, full-thickness’ of the scalp down io and Including the periosteum. By palpsiion -
examination teday, Mr, Krembel's squamous cell carcinoma appeared to be rather deep; and | hava alse
meritioned to him that there were certalnly pessibiltties that the underlying ealyariim could be involved. Mr.
‘Krembel has had prior radiographic exarfinations, ac noted above, that have failed to reveal any evidence of
calverial Involvement. | informed Mr, Krembel that | generally would not favor a repeated imaging study given
the poseitility of talse negative rasulis in this clinical setting and given his extensive scarring in this ares.
Father, t would favet @ Mohs surgical excision of this nseplasm with detadled analysis of the peripheral and
desp surgical margins. Becaues there would be a rather large area of exposed one follewing the surgical
excision of this tumer, | infermed Mi Krembe! that ! would generally favor coardanation of the Matis surgical

 

~ Ke
Generated on gfeei2ots 12:47 PM
Q

4
i

 

——n CUSS DS IO-CLUSUIS-FL Document 1-1 Filed 01/27/16 Page 3 of 10

 
cena el

 

 

Ph sa ©

A5/28/2814 16:85 5685551828

 

 

PAGE 28/32

DOB: 2/28/1944, Sex: M

FMCD .
Duke Medicine Fax S/28/2010 1:07:48 PH PAGE 5/007 Fax Server
: Sete gh fa ote ‘KREMBELMIGHAEL . .
a BukeMedicine. MAN: B 1316242

 

Notes (oontinued!
Previgers On. eonun

 

 

- Ene. Darigisyi3 . ,

 

The Importance of reutine feflow-up core with 2 perard
| have prospectively aismynsed withthe Pationt all eq
Banefitsof, andaktemativesto each treatment tech] i

= Informational (erature handed out on skin carcar'| =
~ The warning signs jor skin cancer were reviewer,
- Preoperative skin cancer Surgery counseling piven.

~ Nature of patient's diggnosis, prognosis, and treatrne
shin cancer, aid Itspetential te metastasize,

darmatalagiat was stressed to ths patient,

oriy used treatment techniquesfor thisnedpiasm. The relativa risky of,
ewere thoreughly Crscunsed. pier to the Initiation of any surgical core.

ir cancer treatment, Mohs surgery, and preoperative Instructions,

options were ehecussod In ister wien include nature ot nommelenanta.

- Fisks, benefits, ene possible complications of each Hideussad in detali.

- Neture of Mohgsurgery completely autiined and boc

‘é provided. Patient acnowtedges resehing end reviewing pamphlet,

« Compliaations ard sde-cifectent surgery al scusses which include: paln, infection, bleeding hematoma, 100%scar formation,

wound defisconce, failure of flap or skin graft, diste!
nerve damage, timer recurrence. .

- Repair options of Tape, orate, second intanti¢ en
+ Inability to predict postoperative Size or method 6
« Patlent was warned to step smoking one weekbe D r
flap and graft survival, 3
Alot the patlent'squestions and cansemeware ad dr

Pan:
~Mohe! Surgery will be scheduled,
+ Photographs of concerning lesions obtained.

onfalteratian of sufrounding anatomia features, temporary oF permanent

pealing, andoption of veterrsl for rapair discussed. .

= ar int advance discensee,

andona week after surgery. sindd Tallure'te de so cant result in etrensed

Comments: The potentialfor intredociig fn area of Goan ring lope wes garefilly explained te tha patient.

t have explainedto ine patient that thistumar déesbd
‘eliminate the potential for distant disease.

‘have prospentively Informted the patient that the
large wound might require significant effarisio recy

‘The tlopsy site was progpedtively Identified by the pat

   
  
 

desces somd metéstatia potential, end that this sutgery: eannet entinaly

Gita defect created te remove thistumor may be quite large,.and thet sucha
atruce,:
ant ad confirmed Sy the physioian using arian,

I have offered te arrang’ to Rave a piastle.curgeon r pal this wound. -

T have progpectively discussed with the patient all cq
benafitsof, and.alternativesto each tresboant teh}

   

. Hestronipally slanes by Joneinen Lema
Piogress Motes signed isy Jonbthan Lambe

ook, MD at 101672099 $19 PM

monty weed? trestmant techniquastor thisneoplagm, The relative riskact, ©

que were thorouphly discussed prior to the Initiation of any surpiest care.

gol, Mi at fOMGROTS 8:27 PM

Physician

 

Authars wonathan kambert . Serce: " fnone) Autor
Cook, MB. . 0 . Tyoe
Filed: 10 B2018 16 PM Nate Teme: 10/18/2013 12:46PM
i MOS ADDEN UMTOGHAAT —
Genarated an sieanaat4 12:47 PM

 

oo —r~--Case 5:16-ct-03018-FL Document 1-1 Filed 01/27/16 Page 4 of 10

 
 

 

:

     
   

De "i Department of Fost Jo 7 Og

CO, a pile Btn PISO a -
pe “Fedora Gost! Came: AHochment

    
 
    
  
 
 
 
    
 
  
 

 

 

 

 

Reged ag teres ALT

tthe pe niaation neyieni Gomirese ©

Cea: eri

pa

   
 

i
ve

Boe
tr  ReceSBarY. ed . ce oe
wean andatory : whe “hr rete 4 wey . * Lo te Tad : wae
Oi Man sence. of? “Tame Se ee,
‘WecesEary * ey a et ee
teally.. entnent eat plan. .. . “. : ae 7 y ” ty " wt, . we ‘ ne

ae oe
egeacrigi
Se

"

i

- od

wt as in vin Be sched .
TE TRE Bee on Static ae sick. call. Sa, Sical
aire clinician team

bt
a
_

es
mi

es
ae
B
wd
H
0
PEE
B
i
of

 

 

 

 

 

7 DAA : . Bcripg Clinical Director pevised. (6/03)

‘Date | Lo Tey
J's gt Medical Become. . .

- .Gase.5{16-ct-03018-FL Document’1-1 Filed 01/27/46 Page'S of 10

 
 

 

ee

Dcbachment 5...
— (a pages)

- £ONSULTATION REPORT

 

Pmt wetem det eae nan

& arertaseet

{ US. DEPARTMENT OF JUSTICE . FEDERAL BUREAU OF PRISONS’

z

 

 

 

 

 

 

 

 

 

Name: Krembel, Michal
Reg, #: 16452-055 Referred By: SUTNER FCi
Dog: Lo _ 1 Attending: CUSCELA, DANIEL
Followup History and Physical.
Date of Visit: Dictation Received: Dictation Transcribed:
12/03/2013 - 12/03/2013 12/04/2013

, Sensitive but Unclassified
RADIATION THERA PY REPORT

The patient was seén in consultation yesterday, 12/02/2013. He was seen prior back in June and has 2 diagnosis of a
squamous cell carcitorna af the scalp, He underwent a surgical resection with complications in early May of that yeer,
followed by 2 rotational flap with all margins apparently being negative. Due to the fact that he had the
complications from the initial surgicat procedure and he had-no signs of recymence and negative pathology on
reexcision and reviewing the pathology with the patient, he felt that he wished to be followed. On my second
evaluation he is noted to have a small nodule at the end of the skin of the flap, and it was unsure whether this was
recurrent or an underlying suture. He was referred to Dermatology and felt that he needed a Mohs surgery and
biopsy of this area. However the mass has grown quite rapidly, exophytically and ulcerativety with a crater and signs
of ap infectious process and drainage as well as ‘necrosis, He has a plastic suaery appointment but after examining

-the patient, clinically he appears to be a T4 with invasion into the skull, and isnot a surgical candidate at this point

in fight of the above findings, the patient agrees and wishes to proceed with diagnostic CT of the head with
noncontrast to determine depth of invasion and/or invasion of the skull if present, t0.be followed by radiation therapy
as the primary eatment. Since this mess is.on the vertex of the skull, It should be easily approachable with —
tangential fields limiting the underlying brain and probably mixed with electrons as well for local control. We referred
fo NCCN guideline 2.2613 for squamous cell carcinoma of the skin, both recurrent and persistent, and are following
guidelines with recgmmmendations. The patlent agrees to proceed. Does not wish any further surgery and wishes to
proceed with rediation alone. I have arranged a cancellation of the plastic surgery consultation and will proceed with
the above plan, His past medical and surgical history are unchanged.

REVIEW OF SYSTEMS: The patient states that he has no unusual feelings on the scalp, no crawling or creeping or
Sensations along the scalp. He does notice an odor and drainage on the pillow when he wakes up inthe moming, It
goes from a crusty type cf exophytic growth to a weepy type of-scab that bleeds, At this point, itis dry on
evaluation. He is seen with physics and dosifetry an my consultation.

T discussed the case with Dr, Carden In medical oncology as well,

PLAN: The above-consulfation has beer reviewed as well as my prior notes and pathology, Since the patient Is now
a 74 persistent disease, since he has not had time for recurrence and most likefy had persistent disease at that site,
he will be treated with primary radiation since he is not a surgical candidate for cure... At this point, we will proceed as
planned with diagnostic CT as well as the planning CT and positioning for primary vadiation treatment. Dr. Carden is

gE

betes x

Seah

Case’ 5¢16-ct-03018-FL Document 1-1 Filed 01/27/16 Page 6 of 10

 
 

 

 

oe nee oF

 

 

aware and will follow the patient.along. He does not have a risk for multiple squamous cell carcinomas, and will not
be offered any acipvent or neoadjuvant chemotherapy.

4
Z

 

 

 

 

 

arate gine

Signature: - :
lel. pla. MD
oc oo
" Electronically Signed 12/05/2013 14:19
Job No: 755857

Case 5:16-ct-03018-FL Document 1-1 Filed 01/27/16 Page 7 of 10
 

 

 

A+te chk ment G .
(apeges)
Medical Summary for Michael Krembel, 16452-055.
Date: October,21" 2014; 03:45pm |

Michael Krembel is a 70 year-old white male, whose most Significant medical problem is very
_agsressive, recurrent metastatic squamous cell carcinoma of the scalp. It was initially diagnosed
- and treated in Trenton, Ni. Resection of the scalp tumor was done with 2 skin grafts taken from
right thigh in April of 2013. Re-excision was performed in May of 2013. Since he has had two
failed attempts of flap grafts to cover his scalp wounds, he was sent to FMC, Bummer, NC.for
further management on 06/06/2013. .

He was evaluated by a Derthatologist on 07/08/2013 who recommended for him to have MOHS
surgery. This surgery was approved by the URC on 07/10/2013. Unfortunately this surgical

procedure was not scheduled at all, reason is not clear to me. This however resulted in the-delay
in care of his cancer treatment. His cancer progressed during this time. He was then evaluated by
the Oncology services of this facility in December of 2013.-At that point it was decided by me
radiation Oncologist that he could be best treated by radiation therapy rather than MOHS surgery
and his plan of care was changed. Patient completed his radiation treatment on June 23rd, 2014.
After his radiation treatment he developed.a large exophytic, ulcerative and bleeding mass
covering the entire vertex of his scalp with nodularity adjacent'to that area. Daily dressings were
done but despite his aggressive wound management by P.T. services it continued to become
worse. toot .

On July 22, 2014 he mderwent wide radical excision of the scalp SCC (20x20 cm in size) with .
partial craniectomy, After the resection bolster dressing of Xeroform and gauze were placed over
"| thé denuded and partigily resected cranium. Histo. Pathology report of the resected calvarium
showed bone infiltrated ‘by moderately differentiated Squamous Cel! Carcinoma,

‘Patient was readmitted at DUMC-on 08/18/14. During this adinission he underwent a prolonged
extensive neurosurgical and Plastic surgery procedures on 08/19/2014 which involved free

_ muscle flap of the scalp, split thickness skin grafting of the scalp, partial craniectomy for
osteomyelitis and involvement of the skull bore with infiltrating SCC and cranioplasty for skull.
defect of moré than Sem with a Titanium mesh plate. He was discharged back to the Oncology
Outpatient floor on 08/25/201 4. During this surgery he also developed acute weakness of his

_right upper and both lower extremities most likely due to CVA. Post-operatively he developed
MRSA infection of the wound which required 1.V. antibiotic treatment with Vancomycin. He
was then sent to ACU for his care on 09/08/2014. His muscle flap got necrotic on the right one
third of his scalp where he’has an open wound with visible Titanium plate. His wound is clean
and edges are healthy. His weakness of right upper and both lower extremities is improving and
he is now able to stand up and walk up to the toilet in his own room. He can perform all activities
of his daily living but he has difficulty walking even short distances without any support on the
floor. He continues to get physical therapy.

&
u
z

2

Case 5:16-ct-03018-FL Document1-1 Filed 01/27/16 Page 8 of 10
 

 

He was seen by his plastic Surgeon for a follow up visit on 09/24/2014 who found a large mobile
lymph node of the right side of his neck concerning for metastasis and recommended excision
biopsy. Excision biopsy of this node was done by a General Surgeon on 09/26/2014 at FMC,
Buiner, NC, Biopsy report showed Invasive moderate to well differentiated Squamous Cell

" Carcinoma,

According to the Oncology services he does not need ‘any radiation-or Chemotherapy until he

- develops any more metastatic lesions or masses. He will need follow up PET scans every 3 10 4
months. Accofding to-his Plastic Surgeon he will need another extensive and prolonged plastic
surgical procedure for the coverage of his scalp woimd, Without this procedure he has very high

' tisks of wound infection, Brain abscess, Meningitis, Septic shock and even death, Surgical
procedure itself is not free from the risks of severe morbidity and mortality. Success of this :
surgical procedure is also unpredictable but benefits are more than the risks and patient is willing -
to go through this surgical procedure. This surgical procedure has been approved by the URC.
Scheduling for this surgical procedure is awaited.

Mr, Krembel’s other problems include: Hypertension, reflux esophagitis, hx of MRSA infection,
and a right inguinal hernia which was ‘repaired'in 2009. He will continue to need skilled nursing .
care after discharge, as he still requires daily dressing changes of his scalp wounds. He is ,
independent in his activities of daily living, but will need to continue ‘physical therapy for muscle
strengtheninig-exercises and endurance. He will also need regular follow up visits with an

_oncologist for head and neck cancer treatment and general surgery follow up visits for wound
care after discharge.

Patient’s cancer is very aggressive and locally progressive. Probability of dying due to serious
complications of his surgical procedures is more than the probability of dying from his cancer
itself, However his life expectancy cannot be accurately predictable at this time.

_ From the Medical point of view-he qualifies for the consideration of RIS due to his markedly.
debilitated general condition, advancing very aggressive metastatic Squamous Cell Carcinoma of
the seal and bed confinement at this point. Thank you.

[2 Ladbevy rib)

Pushy K. Claudius, MD _ SF i

 

Case 5:16-ct-03018-FL Document1-1 Filed 01/27/16 Page 9 of 10

 
 

 

PETTACAPUMENT 7

 

U.S. DEPARTMENT OF JUSTICE
Federal Bureau of Prisons
Mid - Atlantic Region

 

 

Butner Legal Center
P.O. Box 1600
Butner, North Carolina 27509
August 20, 2015
‘Bruce Berger
4800 Six Forks Road
Suite 100

Raleigh,NC 27609
Re: Administrative Tort Claim Number: TRT-MXR-2015-05022
Dear Mr. Berger:

Your administrative claim filed on behalf of Michael Krembel, 16452-055, has been considered for
administrative settlement under the Federal Tort Claims Act, 28 U.S.C. § 2671, et seg. You state the
Bureau of Prisons failed to timely act on the recommendations of Mr. Krembel’s physicians and other
health care providers which contributed to Mr. Krembel’s deteriorating medical condition. You allege
government liability in the amount of $750,000.00.

The claim was reviewed and Mr. Krembel received the standard of care for his medical condition. The
Federal Tort Claims Act only provides compensation for loss of property or injuries resulting from the
negligence, omission, or wrongful act of Bureau of Prisons employees acting within the scope of their
employment. There is no evidence of staff negligence.

Therefore, your claim is denied. If you are dissatisfied with our determination, you may file suit in the
appropriate United States District Court not later than six (6) months after the date of mailing of this
notification.

 

ec: James B. Craven, I

Case 5:16-ct-03018-FL Document 1-1 Filed 01/27/16 Page 10 of 10

 
